Case 5:07-cv-05027-KES Document 1-2 Filed 03/13/07 Page 1 of 6 PagelD #: xy |
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Fall River Gounty, SD
STATE OF SOUTH DAKOTMTHE FIRCUIT COURT IN CIRCUIT COURT

FER e 5 2007

SEVENTH JUDICIAL CIRCUIT
Carol E. Foster, Clerk

Deputy 4, CIV. NO. 61-(9

COUNTY OF SHANNON

By

ELLAURIA LITTLE HAWK,
SPECIAL ADMINISTRATOR
OF THE ESTATE OF STANLEY
T. LITTLE HAWK, JR.,
DECEASED,

 

Plaintiff,

vs. COMPLAINT

LLOYD A. MCPHERSON, MD
and GREGORY L. MORFORD, MD,

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Defendants.
COMES NOW the Plaintiff, ELLAURIA LITTLE HAWK, SPECIAL
ADMINISTRATOR OF THE ESTATE OF STANLEY T. LITTLE HAWK, JR.,
DECEASED, by and through her attorney of record, and for her causes of action
against the Defendants, LLOYD A. MCPHERSON, MD, and GREGORY L. MORFORD,
MD, both jointly and severally, and states and alleges, as follows:
JURISDICTION
1. Plaintiff, Ellauria Little Hawk, is a daughter of Stanley T. Little Hawk, Jr.,
Deceased, and was appointed Special Administratrix of the Estate of Stanley T.
Little Hawk, Jr., Deceased, by the above captioned court on January 24, 2006,
and she is a resident of Pine Ridge, Shannon County, South Dakota.

2. Plaintiff is authorized under the laws of the state of South Dakota to bring this

 

action in order to protect the rights of the Decedent's family and seek relief from

the Defendants through this action.
Case 5:07-cv-05027-KES Document 1-2 Filed 03/13/07 Page 2 of 6 PagelD #: 11

At all times material to this litigation Defendants LLOYD A. MCPHERSON, MD,
and GREGORY L. MORFORD, MD, were physicians practicing medicine at the
Indian Health Service Hospital in Pine Ridge, Shannon County, South Dakota.
That this court has personal jurisdiction and subject matter jurisdiction over the
parties to these proceedings and in as much as the events which are the subject
matter of this litigation all occurred in Shannon County, South Dakota, venue is
proper in Shannon County, South Dakota.

FACTUAL ALLEGATIONS
On August 18, 2005, Defendant McPherson undertook to provide medical care
and treatment of Plaintiffs Decedent, Stanley T. Little Hawk, Jr., a 47 year old
male, at the Emergency Room of the Indian Health Service Hospital at Pine
Ridge, South Dakota, for complaints of chest pains - with pain radiating down
both arms.
Following the medical care by Defendant McPherson, Little Hawk was released
and permitted to return home.
On August 22, 2005, Defendant Morford undertook to provide medical care and
treatment of Plaintiff's Decedent at the Emergency Room of the Indian Health
Service Hospital at Pine Ridge, South Dakota, for complaints of chest tightness,
epigastric pain, and jaw pain.
Following the medical care by Defendant Morford, Little Hawk was released and

permitted to return home.

 

Only six (6) hours later during the early morning of August 23, 2005, Little Hawk
returned to the Emergency Room of the Indian Health Service Hospital at Pine

Page 2 of 6
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Case 5:07-cv-05027-KES Document 1-2 Filed 03/13/07 Page 3 of 6 PagelD #: 12

Ridge, South Dakota, by ambulance in cardiac arrest.

Upon arrival at the hospital, medical staff intubated Little Hawk but after several
injections of various heart stimulation medications, he was pronounced dead that
morning.

Little Hawk is survived by his children, namely:

Ellauria M. Little Hawk daughter Adult

Jeffery C. Hard Heart son Adult
Monica R. Anderson daughter Adult
Sarah P. Hard Heart daughter age 13
Joshua T. Little Hawk son age 12

Prior to his death, Little Hawk was employed by the Oglala Sioux Tribal Housing
Authority in Pine Ridge, South Dakota, and was the sole financial support for his
family, all of whom lived with him, except his daughter Monica, who lived in the
eastern part of the state of South Dakota.

FIRST CAUSE OF ACTION
WRONGFUL DEATH

Plaintiff realleges paragraphs 1 through 12, inclusive, herein by reference.

At all times material Defendants McPherson and Morford owed a duty of
reasonable care to Little Hawk to possess and use that knowledge, care and skill
that is generally possessed and used in similar cases and circumstances by
physicians having similar standards and facilities.

Defendants McPherson and Morford, both jointly and severally, were negligent
and breached their duties to Little Hawk in one or more of the following ways:

(a) Failing to acquire an adequate medical history:

(b) Failing to conduct adequate physical examinations,

Page 3 of 6
 

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Case 5:07-cv-05027-KES Document 1-2 Filed 03/13/07 - Page 4 of 6 PagelD #: 13

(c)

(d)

(e)
(f)
(g)

(h)

(j)

(k)

Failing to keep abreast of current medical and scientific diagnostic tests
and studies and medical literature containing diagnosis and treatment for
the medical condition, symptoms and problems manifested by Little Hawk
while under their care;

Failing to properly examine, perform diagnostic tests on, monitor or treat
Little Hawk’s medical history, symptoms and complaints;

Failing to generate an appropriate differential diagnosis;
Failing to properly, adequately and correctly interpret diagnostic tests;

Failing to seek adequate medical consultation from specialists within the
fields of medicine for any differential diagnosis,

Failing to properly prescribe an appropriate course of treatment so as to
allow Plaintiff's Decedent the benefit and potential of a full and complete
recovery from his illness;

Failing to maintain Plaintiffs Decedent under proper medical care;
Failing to refer Little Hawk to another medical facility with the capability,
staffing and experience to render proper care consistent with the severity

of his illness; and

Otherwise being negligent and subjecting Little Hawk to substandard
medical care under all the circumstances then and there existing.

As a direct and proximate result of Defendants’ negligence and breach of

applicable standards of care, both jointly and severally, Little Hawk was caused

to suffer cardiac injury and cardiac arrest resulting in his untimely death.

As a direct and proximate result of Defendants’ negligence and breach of

applicable standards of care, both jointly and severally, Plaintiff, and the heirs of

Little Hawk, have been deprived of the services, comfort, support, counsel,

guidance, aid, instruction, moral training, superintendence, society, love,

 

affection and inheritance of Decedent, all to their detriment and to the damage

and detriment of Decedent's estate.

Page 4 of 6
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Case 9:07-Cv-05027-KES Document 1-2 Filed 03/13/07 Page 5 of 6 PagelD #: 14

As a further direct and proximate result of Defendants’ negligence and breach of
applicable standards of care, both jointly and severally, Plaintiff has incurred
expense for Little Hawk’s funeral and burial.

SECOND CAUSE OF ACTION
SURVIVAL CLAIM

Plaintiff realleges paragraphs 1 through 18, inclusive, herein by reference.

As a direct and proximate result of Defendant's negligent acts and breach of
applicable standards of care, both jointly and severally, Plaintiff's Decedent
experienced pain and suffering, mental anguish, suffered a rapid decline in his
medical condition and other personal injuries in the days following his initial
medical examination and on the day of his death on August 23, 2005.

WHEREFORE: Plaintiff, Ellauria Little Hawk, Special Administrator of the Estate

of Stanley T. Little Hawk, Jr., Deceased, prays judgment against Defendants, LLOYD

A. MCPHERSON, MD, and GREGORY L. MORFORD, MD, both jointly and severally,

as follows:

1. With respect to the Wrongful Death Claim:

A. for the tangible and intangible pecuniary losses suffered by
Decedent's children and next of kin;

B. for the funeral and burial expenses incurred;

C. for prejudgment interest;

D. for Plaintiffs’ costs and disbursements.

2. With respect to the Survival Claim:

 

 

 

1. ~~ for the conscious pain and suffering experienced by Little Hawk
prior to his death;

Page 5 of 6
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Case 5:07-cv-05027-KES Document 1-2 Filed 03/13/07 ‘Page 6 of 6 PagelD #: 15

B. for the medical and hospital costs incurred;
C. for prejudgment interest; and
D. for Plaintiffs’ costs and disbursements.
3. For such other and further relief as to the court seems just and equitable.

Dated this Bd day of February, 2007.

JOHNSON EIESLAND LAW OFFICES, P.C.

 

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Page 6 of 6
